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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

 IN RE:                                                             CASE NO.: 18-bk-05950-CCJ
                                                                                  CHAPTER 7
 Rodolfo Terrazas, Sr.,

       Debtor.
 _________________________________/

LIMITED OBJECTION TO MOTION FOR ORDER APPROVING SALE OF ESTATE’S
  INTEREST IN NON-HOMESTEAD REAL ESTATE IN LAKE COUNTY, FLORIDA

       COMES NOW, DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE
FOR    INDYMAC        INDX     MORTGAGE         LOAN      TRUST      2007-FLX6,        MORTGAGE
PASS-THROUGH CERTIFICATES SERIES 2007-FLX6 ("Secured Creditor”), by and
through undersigned counsel, hereby files its Limited Objection to Motion for Order Approving
Sale of Estate’s Interest in Non-Homestead Real Estate in Lake County, Florida (“Motion”)
(Docket No. 28) and, in support thereof, states as follows:
   1. Debtor, Rodolfo Terrazas, Sr. (“Debtor”), filed a voluntary petition pursuant to Chapter 7
       of the Bankruptcy Code on September 27, 2018.
   2. Secured Creditor holds a first lien on the subject property located at 163 Crepe Myrtle
       Drive, Groveland, FL 34736 (the “Property”).
   3. On October 9, 2019, Marie E. Henkel, Chapter 7 Trustee (“Trustee”) filed a Motion for
       Order Approving Sale of Estate’s Interest in Non-Homestead Real Estate in Lake County,
       Florida (Docket No. 28) and is seeking to sell the subject property, subject to all liens and
       encumbrances, for a sales price of $222,500.00.
   4. Secured Creditor previously sought and obtained an Order Granting Relief from the
       Automatic Stay to proceed with its state court remedies against the subject property
       (Docket No. 24).



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   5. Secured Creditor objects to the sale and requests this Court allow it to proceed with its
       state court remedies as said sale will only cause more costs to be incurred by Secured
       Creditor as it proceeds with its state court remedies. Such costs outweigh the benefit to
       the bankruptcy estate.
   6. Alternatively, Secured Creditor requests that any order granting such sale include
       language barring any third-party purchaser from standing in the shoes of the borrowers
       and asserting any affirmative defenses in any underlying foreclosure action.
   7. Secured Creditor, pursuant to 11 U.S.C. 363(k), also reserves the right to credit bid on the
       Property.
   8. Secured Creditor is filing its Response in an abundance of caution, as Secured Creditor
       wants it to be clear that it should not be compelled to participate in a sale of the property
       absent payment in full of Secured Creditor’s mortgage lien on the real property without
       being given the right to credit bid pursuant to 11 U.S.C. § 363(k).
   9. Furthermore, Secured Creditor requests that failure to complete any sale within 90-days
       of entry of this Order will result in any Order authorizing the sale to be deemed moot.
   10. Secured Creditor reserves the right to supplement this response at or prior to any hearing
       on this matter.
   WHEREFORE, Secured Creditor respectfully requests entry of an order denying the
Trustee’s Motion and for such other and further relief as the Court deems just and proper.


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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on November 1, 2019, I caused to be electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has
been served via CM/ECF or United States Mail to the following parties:
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